         Case 3:19-cv-01467-JR        Document 24       Filed 10/09/20    Page 1 of 11



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                        IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION

 RADAGAST PET FOOD, INC., an Oregon                                  Case No. 3:19-cv-01467-JR
 corporation,
                                                       PLAINTIFF RADAGAST PET FOOD,
                                        Plaintiff,         INC.’S MOTION FOR PARTIAL
                                                                  SUMMARY JUDGMENT
                        v.
                                                                   Pursuant to Fed. R. Civ. P. 56
 CENTINELA FEED, INC., a California
 corporation; THE LOTUS PET FOOD,
 INC., a California corporation,
                                     Defendants.

                                    LR 7-1 CERTIFICATION

       Counsel for Radagast Pet Food, Inc. (“Radagast”) has made a good faith effort through

personal or telephone conferences to resolve this dispute and has been unable to do so.

                                      INTRODUCTION

       This case is about defendants’ breach of a nondisclosure agreement. Radagast is a

Portland-based industry leader in premium raw cat food that had to close its doors in October

2018 due to economic concerns. In October 2018, defendants—a California-based retail pet


Page 1 - PLAINTIFF RADAGAST PET FOOD, INC.’S MOTION FOR PARTIAL
         SUMMARY JUDGMENT
         Case 3:19-cv-01467-JR         Document 24       Filed 10/09/20    Page 2 of 11




store chain and a manufacturer of dry and canned pet food—approached Radagast about a

potential investment or partnership to keep the product on the market. After entering into

Radagast’s Nondisclosure Agreement (the “NDA”), Radagast provided defendants with a

confidential list of its production equipment, raw materials in inventory, growth plans and

projections, financials, and many other trade secrets.

       Shortly after, defendants—which admitted they had no prior knowledge of how to make

raw cat food—said they would “pass” on moving forward with further discussions regarding

partnering or purchasing any Radagast assets. But just five months later, one of the defendants

announced the launch of its own raw cat food line with the same protein varieties, language

identical to Rad Cat® Raw Diet on their packaging, and the same packaging in tubs as

Radagast’s. And it promoted the product at a trade show as “exactly the same” as Radagast’s.

       Radagast promptly sought the return of its confidential information from defendants and

requested they state under oath that all confidential material was returned—as expressly required

by the terms of the NDA. Defendants responded by ignoring Radagast and eventually providing

a deficient and misleading response. This lawsuit followed.

       Now, nearly two years after defendants first approached Radagast, they admit that they

retained Radagast’s confidential information—thereby breaching the NDA. Accordingly, and

pursuant to FRCP 56(a), Radagast moves for partial summary judgment in its favor on the

“liability” part of its breach of contract claim, leaving the amount of Radagast’s damages to be

determined by the jury.

                           STATEMENT OF UNDISPUTED FACTS

I.     The parties enter into the NDA.

       Radagast was co-founded in Portland, Oregon by Tracey and Janice Hatch-Rizzi, a

married couple who discovered the benefits of a raw cat food diet after they developed a raw

Page 2 - PLAINTIFF RADAGAST PET FOOD, INC.’S MOTION FOR PARTIAL
         SUMMARY JUDGMENT
         Case 3:19-cv-01467-JR          Document 24       Filed 10/09/20      Page 3 of 11




food diet for their kitten, Juno. (Declaration of Janice Hatch-Rizzi in Supp. of Pl.’s Mot. for

Partial Summ. J. (“Hatch-Rizzi Decl.”), ¶ 2.) This local woman-owned company had an

extremely loyal following, and soon became an industry leader in premium raw cat food—selling

lamb, chicken, turkey, venison, beef, and pork varieties (all single protein recipes in tubs) of its

Rad Cat® Raw Diet. (Id.) But due to an unfortunate and unexpected convergence of events,

Radagast decided to close its business and announced that decision on its website on October 15,

2018. (Id. at ¶ 3.)

       After Radagast announced it was winding up its raw cat food business, defendant

Centinela Feed, Inc. (“Centinela”), a retail seller of pet food and pet supplies, set up a telephone

call regarding a potential investment in Radagast. (Hatch-Rizzi Decl., ¶¶ 4-5.) Chris

Nakagawa—an officer at Centinela and defendant The Lotus Pet Food, Inc. (“Lotus”), a

manufacturer of dry and canned food for dogs and cats—participated in the call and told

Radagast that he wanted to explore a deal. (Id. at ¶ 6.) Radagast explained that investment was

no longer an option, only the sale of remaining company assets, and a nondisclosure agreement

was needed before moving forward. After the call, Mr. Nakagawa followed up with an email

with the subject “NDA” and both the Centinela and Lotus names and logos in the signature

block. (Id. at ¶¶ 6-7.) He wrote: “[H]ope we can do something together.” (Id. at ¶ 7.) Radagast

then sent Mr. Nakagawa its NDA, which he signed the same day. (Id.)

       After the NDA was executed, Radagast provided its confidential information to

Mr. Nakagawa and Lotus’s Daron Matsuura, including information about equipment and

procedures needed to manufacture Rad Cat® Raw Diet products and its marketing plans.

(Hatch-Rizzi Decl., ¶ 9.) After six days of discussion, Centinela and Lotus went radio silent.




Page 3 - PLAINTIFF RADAGAST PET FOOD, INC.’S MOTION FOR PARTIAL
         SUMMARY JUDGMENT
          Case 3:19-cv-01467-JR        Document 24       Filed 10/09/20     Page 4 of 11




When Radagast’s broker followed up, Mr. Matsuura let her know they had “decided to pass.”

(Id. at ¶ 12.)

II.     The information provided by Radagast was confidential.

        The NDA defines “Confidential Information” as “any nonpublic information received

from Radagast[.]” It may be “written, oral, in any tangible form or electronic, embodied in or

derived from product samples, or in other forms” and “[a]ny Radagast information provided to

Recipient is presumed to be Confidential Information unless otherwise stated by Radagast or this

agreement.” (Declaration of Adam Starr in Supp. of Pl.’s Mot. for Partial Summ. J. (“Starr

Decl.”), Ex. 1.) The information that Radagast provided defendants was nonpublic information,

and Radagast took many steps to protect it—including requiring employees to sign

confidentiality agreements and requiring visitors to the Radagast facility to sign a log and to sign

NDAs if they were to encounter anything confidential. (Hatch-Rizzi Decl., ¶ 10.) Radagast’s

information was therefore “confidential.”

III.    Revelations at the Global Pet Expo.

        Five months later, on March 20, 2019, during the Global Pet Expo annual industry trade

show in Florida, Radagast received an email from a representative of a company with whom

Radagast was in the final stages of negotiating an asset purchase. The email stated, “I just

finished up a meeting with a distributor, who shared the news that Lotus has purchased your

formula. Lotus has apparently been sharing this with certain people in the industry. . . . Now

I’m confused. I’d appreciate if you could share where things stand.” (Hatch-Rizzi Decl., ¶ 13.)

IV.     Radagast seeks compliance with Section 5 of the NDA.

        Upon learning that Lotus was erroneously telling the industry that it had bought the Rad

Cat® Raw Diet formula, Radagast contacted defendants, demanding that they comply with



Page 4 - PLAINTIFF RADAGAST PET FOOD, INC.’S MOTION FOR PARTIAL
         SUMMARY JUDGMENT
         Case 3:19-cv-01467-JR         Document 24       Filed 10/09/20     Page 5 of 11




Section 5 of the NDA. Section 5 of the NDA requires, on demand, that defendants: (1) cease use

of all Confidential Information; (2) return all materials containing Confidential Information; and

(3) state under oath that they have complied with the demand:

               At Radagast’s request, Recipient will (i) cease all use of
               Confidential Information; (ii) return all materials furnished by
               Radagast that contain Confidential Information; and (iii) destroy or
               deliver to Radagast (as instructed by Radagast) any electronic
               records or other materials containing Confidential Information,
               including materials prepared by Recipient. Upon request,
               Recipient will state in writing under oath whether it has complied
               with this section.

Radagast’s letter contained a formal demand that defendants return all Confidential Information

and “state in writing under oath” that “any electronic records or other materials containing

Confidential Information” have been destroyed. (Starr Decl., Ex. 2.)

       Defendants ignored the letter. Radagast was forced to follow up on May 23, 2019,

highlighting that defendants’ “failure to return all confidential information and provide such

written, sworn confirmation is a material breach of the NDA, and deepens Radagast’s concerns

about your possible retention and use of the company’s trade secrets.” (Starr Decl., Ex. 3.)

       Another three weeks went by before an attorney named Michael Bales sent a letter to

Radagast stating that he had “advised” Centinela to delete all electronic copies of certain

Confidential Information provided by Radagast pursuant to the NDA. But he failed to mention

other categories of Confidential Information provided by Radagast. (Starr Decl., Ex. 4.)

       Mr. Bales’ letter enclosed an affidavit signed only by Mr. Nakagawa and citing the same

incomplete list of Confidential Information. Mr. Nakagawa’s declaration states, “The RadCat

Documents have been deleted from our computer system and no electronic records have been

retained by us and no physical copies of the RadCat Documents were ever created.” It further

states, “We have delivered electronic copies of the RadCat Documents to our counsel, Michael



Page 5 - PLAINTIFF RADAGAST PET FOOD, INC.’S MOTION FOR PARTIAL
         SUMMARY JUDGMENT
           Case 3:19-cv-01467-JR        Document 24       Filed 10/09/20      Page 6 of 11




V. Bales, to be retained by him and to be disclosed or used only if Radagast institutes legal

action against Centinela Feed.” (Starr Decl., Ex. 5) (emphasis added).

       Mr. Bales’ letter invited Radagast to contact him if the letter did not allay the company’s

concerns. It did not. On June 25, 2019, Radagast sent a detailed letter describing the factual

inconsistencies in the letter and, pointing out, as to compliance with Section 5 of the NDA, that:

       •       The affidavit enumerates only some of the documents provided by Radagast, and

               fails to address other Confidential Information received by defendants;

       •       Radagast is entitled to any “materials prepared by” defendants based on this

               Confidential Information, including notes of telephone calls and emails

               forwarding or discussing the Confidential Information;

       •       The Nakagawa affidavit is from Mr. Nakagawa alone, who represents both

               defendants, with nothing from Matsuura or anyone else at Lotus who also

               received Radagast Confidential Information; and

       •       The Nakagawa affidavit does not state under oath that defendants will cease use

               of all Confidential Information, regardless of the extent to which the companies

               continue to possess physical or electronic copies of the information.

(Starr Decl., Ex. 6.) There was no response—ever. Radagast therefore had no choice but to file

this lawsuit to secure its Confidential Information.

V.     Defendants’ discovery responses confirm their breach of Section 5.

       Defendants’ discovery responses confirmed multiple breaches of Section 5 of the NDA.

First, they admit that rather than returning the Confidential Information, they sent it to a third

party (Mr. Bales). (Starr Decl., Ex. 5.)




Page 6 - PLAINTIFF RADAGAST PET FOOD, INC.’S MOTION FOR PARTIAL
         SUMMARY JUDGMENT
         Case 3:19-cv-01467-JR        Document 24       Filed 10/09/20     Page 7 of 11




       Second, they concede that they continued to hold Confidential Information, in addition to

the Confidential Information they sent Mr. Bales. Radagast served requests for production on

defendants, including a request to produce “All Radagast Confidential Information.” In

response, they stated that “no responsive documents are maintained.” (Starr Decl., Ex. 7 (Defs.’

Resp. to Pl.’s First Set of Reqs. for Produc., 1/28/20, at 2).) Their document production,

however, included some of the Confidential Information that Radagast had previously provided

to defendants pursuant to the NDA (C&L0000030-78 and C&L000089-172). (Hatch-Rizzi

Decl., ¶ 14.) Defendants conceded that some of the Confidential Information produced came not

from Mr. Bales’ files, but directly from defendants. (Starr Decl., Ex. 8 at 4 (“Daron Matsuura

and Chris Nakagawa exchanged limited emails with Carol Frank [Radagast’s broker] about

purchasing certain assets, which can be more specifically reviewed and analyzed in the

additional documents produced, Bates labeled C&L000518 to C&L000700.”).)

       Defendants’ supplemental production included more Confidential Information that

Radagast provided them (C&L000530-659). (Hatch-Rizzi Decl., ¶ 14.) During a conferral call,

defendants’ attorney acknowledged that these came directly from Centinela/Lotus and were not

among the documents Mr. Bales had kept. (Starr Decl., Ex. 9.)

       Then, on September 21, 2020, defendants answered this interrogatory, “Please state the

circumstances surrounding your production of documents Bates labeled C&L000530-659,” by

admitting they still possessed Confidential Information as of the date of the production:

       At or around the time of Defendants’ original production in January 2020, Daron
       Matsuura discovered the aforementioned documents attached to an October 31,
       2018 email (C&L000528-529), and deleted the same based on prior demands.
       These documents were on a company computer used exclusively by Daron
       Matsuura[.] . . . On or about September 2020, Daron Matsuura, with the
       assistance of a company IT manager, Justin Lim, discovered a duplicate copy of
       the same email (C&L000528-529) under a recovery folder stored on Defendants’
       cloud server which is serviced by Microsoft. Based on prior demands to delete or


Page 7 - PLAINTIFF RADAGAST PET FOOD, INC.’S MOTION FOR PARTIAL
         SUMMARY JUDGMENT
         Case 3:19-cv-01467-JR         Document 24       Filed 10/09/20     Page 8 of 11




       remove documents from Defendants’ devices, this document was removed by
       Daron Matsuura upon discovery in the recovery folder by simply selecting a
       delete option. The aforementioned documents were never in the possession or
       control of attorney Michael Bales.

(Starr Decl., Ex. 10 (Defs.’ Answer to Pl.’s Second Set of Interrogs., 9/21/20, at 3-4).)

       It is therefore undisputed that Daron Matsuura—and defendants—kept Radagast’s

Confidential Information in violation of the NDA and despite Mr. Nakagawa’s sworn statement

that all Confidential Information had “been deleted from our computer system and no electronic

records have been retained by us[.]”

                                       LEGAL ANALYSIS

I.     A party may move for partial summary judgment on liability only.

       “A party may move for summary judgment, identifying each claim or defense—or the

part of each claim or defense—on which summary judgment is sought.” FRCP 56(a). Here,

Radagast seeks summary judgment in its favor on the “liability” part of its breach of contract

claim; specifically, a ruling that Centinela/Lotus breached Section 5 of the NDA, which states:

       At Radagast’s request, Recipient will (i) cease all use of Confidential Information;
       (ii) return all materials furnished by Radagast that contain Confidential
       Information; and (iii) destroy or deliver to Radagast (as instructed by Radagast)
       any electronic records or other materials containing Confidential Information,
       including materials prepared by Recipient. Upon request, Recipient will state in
       writing under oath whether it has complied with this section.

       Radagast does not seek summary judgment on the “damages” part of its breach of

contract claim. The amount of Radagast’s damages is best determined by the jury after a

forensic examination and trial. See Tri-County Metro. v. Time Warner Telecom of Or., LLC, No.

CV 07-691 PK, 2008 WL 4572519, at *6 (D. Or. Oct. 14, 2008) (summary judgment on liability

for breach of contract can leave the question as to the amount of damages to the jury).




Page 8 - PLAINTIFF RADAGAST PET FOOD, INC.’S MOTION FOR PARTIAL
         SUMMARY JUDGMENT
            Case 3:19-cv-01467-JR         Document 24    Filed 10/09/20     Page 9 of 11




II.     Defendants breached Section 5 of the NDA as a matter of law.

        To prevail on its breach of contract claim, Radagast must prove “the existence of a

contract, its relevant terms, plaintiff’s full performance and lack of breach and defendant’s

breach resulting in damage to plaintiff.” Slover v. Ore. State Bd. of Clinical Social Workers, 144

Or. App. 565, 570 (1996) (internal quotation marks and citations omitted). Radagast seeks

summary judgment on all elements except damages.

        As explained above, Radagast demanded that defendants return all Confidential

Information and “state in writing under oath” that “any electronic records or other materials

containing Confidential Information” have been destroyed. Although Mr. Nakagawa swore

“under penalty of perjury” that he destroyed Radagast’s Confidential Information, it is

undisputed that defendants did not even claim to have destroyed other copies of electronic

records containing Radagast’s Confidential Information until September 2020—and even then,

they failed to state under oath that they destroyed all copies of Radagast’s Confidential

Information. (See Starr Decl., Ex. 10 (Defs.’ Answer to Pl.’s Second Set of Interrogs., 9/21/20,

at 3-4).) That, in itself, is a breach of Section 5. 1

        Defendants also breached the NDA by failing to state in writing under oath that they

would cease all use of Radagast’s Confidential Information, by failing to provide an affidavit

from Mr. Matsuura or Mr. Nakagawa on behalf of Lotus, and by providing Radagast’s

Confidential Information to their attorneys. In this circuit, “[c]ontrol [over documents] is

defined as the legal right to obtain documents upon demand.” Int’l Longshore and Warehouse

Union v. ICTSI Ore., Inc., No. 3:12-cv-1058-SI, 2018 WL 6305665, at *3 (D. Or. Dec. 3, 2018)




        1
         Defendants do not claim that Radagast failed to perform its duties under the NDA, so
that element of the breach of contract claim is undisputed as well. (See Dkt. 4, 9/18/19.)

Page 9 - PLAINTIFF RADAGAST PET FOOD, INC.’S MOTION FOR PARTIAL
         SUMMARY JUDGMENT
        Case 3:19-cv-01467-JR          Document 24        Filed 10/09/20      Page 10 of 11




(quoting In re Citric Acid Litig., 191 F.3d 1090, 1107 (9th Cir. 1999); see also Clark v. Vega

Wholesale, Inc., 181 F.R.D. 470, 472 (D. Nev. 1998) (“A party that has a legal right to obtain

certain documents is deemed to have control of the documents.”). Therefore, the fact that

defendants turned Radagast’s Confidential Information over to their attorneys means that they

still retain control over that Confidential Information—which they could recover upon demand.

        Finally, although defendants may argue that they somehow had a right to provide

documents to their attorneys—even though they had no right under the NDA to do so—because

of the potential for later litigation, courts do not allow vigilante tactics in the discovery process.

See O’Day v. McDonnell Douglas Helicopter Co., 79 F.3d 756, 762-64 (9th Cir. 1996) (rejecting

claim that a party was justified in stealing confidential information because his purpose was to

preserve evidence for his future lawsuit); Herrera v. Clipper Group, L.P., 97-CIV-560 (SAS),

1998 WL 229499, at *2 (S.D.N.Y. May 6, 1998) (“The discovery process is not meant to be

supplemented by the unlawful conversion of an adversary’s propriety information.”). Indeed, to

the extent defendants’ attorneys have relied on Radagast’s stolen Confidential Information in this

litigation, they acted improperly. See Furnish v. Merlo, No. 93-1052-AS, 1994 WL 574137, at

*9-10 (D. Or. Aug. 29, 1994) (holding that attorneys who received and relied on the opposing

party’s confidential information, which was stolen by their client, acted improperly; the attorneys

“should have returned the [confidential information], requested production and an order to

compel to challenge the assertion of privilege.”); In re Shell Oil Refinery, 143 F.R.D. 105, 108

(E.D. La. 1992) (attorneys’ receipt of “surreptitiously obtained . . . propriety documents

belonging to [opposing party] . . . was inappropriate and contrary to fair play”). And by stealing

Radagast’s Confidential Information and giving it to their attorneys, defendants also denied

Radagast the opportunity to seek a protective order pursuant to the rules of civil procedure.



Page 10 - PLAINTIFF RADAGAST PET FOOD, INC.’S MOTION FOR PARTIAL
          SUMMARY JUDGMENT
          Case 3:19-cv-01467-JR        Document 24      Filed 10/09/20     Page 11 of 11




                                             CONCLUSION

          The Court should grant summary judgment in Radagast’s favor on the “liability” part of

its breach of contract claim; specifically, the Court should find that defendants breached Section

5 of the NDA. Damages will be proven at trial.

          DATED this 9th day of October, 2020.


                                       MARKOWITZ HERBOLD PC

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Page 11 - PLAINTIFF RADAGAST PET FOOD, INC.’S MOTION FOR PARTIAL
          SUMMARY JUDGMENT
